Exhibit
  1
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
               Plaintiff,                           )
                                                    )       Case No. 14-CR-00674
       v.                                           )
                                                    )
ALDO BROWN                                          )       Judge Virginia M. Kendall
                                                    )
               Defendant.                           )



                                     NOTICE OF FILING


        Please take notice that on, Tuesday, July 14, 2015 I caused to be filed with counsel,
Jessica Romero, of the United States Attorney’s Office, the attached Expert Report.


                                                     Respectfully submitted


                                                     /s/ Daniel Q. Herbert________
                                                     Daniel Q. Herbert
                                                     Law Offices of Daniel Q. Herbert
                                                     and Associates
                                                     206 S. Jefferson, Suite 100
                                                     Chicago, IL 60661
                                                     312-655-7660
                                                     Attorney No. 6273940


                                CERTIFICATE OF SERVICE
        The undersigned, an attorney, hereby certifies that on Tuesday, July 14, 2015, before the
hour of 5:30 p.m., he caused a copy of the following EXPERT REPORT to be filed
electronically and via U.S. Mail, to counsel Jessica Romero of the United States Attorney’s
Office.
                                                            /s/ Daniel Q. Herbert
                                                            Daniel Q. Herbert



                                                1
2
3
4
5
6
7
8
9
ATTACHMENT
     1




    10
ATTACHMENT
     2




    12
13
ATTACHMENT
     3




    18
20
21
ATTACHMENT
     4




    22
ATTACHMENT
     5




    24
25
26
27
